Case 1:22-pr-09999-UNA Document 49-1 Filed 07/26/22 Page 1 of 21




                    ATTACHMENT
                              A
                  Redacted Docket Materials
      Case
   Case     1:22-pr-09999-UNA
        1:20-pr-00048-GRJ      Document
                           *SEALED*     49-1 Filed
                                    Document       07/26/22
                                             1 Filed         Page
                                                       03/09/20   2 of121
                                                                Page    of 10




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-48
ORDER FOR TWO WHATSAPP ACCOUNTS
FOR INVESTIGATION OF VIOLATION OF
18 U.S.C. § 793
                                                           Filed Under Seal

Reference:      USAO Ref                         SUBJECT ACCOUNTS: +                            and


                                      FIRST APPLICATION

        The United States of America, moving by and through Luke M. Jones, its undersigned

counsel, respectfully submits under seal this ex parte application for an order pursuant to 18 U.S.C.

§§ 3122 and 3123, authorizing the installation and use of pen register and trap and trace devices

("pen-trap devices") to record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each access to, and each communication to or from, the WhatsApp

Inc. accounts identified as +                 which is listed to and used by

and +                  , which is listed to and used by                    (hereinafter "SUBJECT

ACCOUNTS").             and       are subjects of the investigation as discussed further below. In

support of this application, the United States asserts:

        1.     This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen-trap devices.

        2.     Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a

certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency." 18 U.S.C. § 3122(b).
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 3 of221
                                                                        of 10




       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Department of

Justice, Federal Bureau of Investigation (hereinafter “Agency”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).

       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a




                                                 2
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 4 of321
                                                                        of 10




device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address. Based on the

IP address used for a given online transaction, law enforcement may be able to determine the

geographical location of the Internet connection used in the transaction.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control




                                                 3
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 5 of421
                                                                        of 10




(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication.       Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.

       14.     WhatsApp is a United States company that provides an Internet-based multimedia

messaging service (MMS), “WhatsApp Messenger,” via a cross-platform smartphone application

that functions using both celluar and wireless data connections. The WhatsApp Messenger

application is an alternative to traditional cellular short message service (SMS). MMS works via




                                                  4
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 6 of521
                                                                        of 10




the Internet, thus avoiding any charges that normal messages incur. Cellular telephone service is

provided to a cellular handheld device, often referred to as a “smartphone,” by wireless cellular

carriers, such as Verizon, Sprint, or AT&T. SMS text messaging and traditional cellular phone

voice communications are provided via a wireless cellular carrier’s network. Messages and calls

sent through WhatsApp Messenger, however, are transmitted over the Internet via WhatsApp

servers located in the United States. A user may use a cellular provider’s data network or another

data connection (such as a home wireless router or a public wireless hotspot) to which the user’s

device is connected to connect to and send messages via WhatsApp Messenger. Users of

WhatsApp Messenger can also access their WhatsApp accounts via a computer using a desktop

application or via an Internet browser. The smartphone-based WhatsApp Messenger permits users

to exchange, inter alia, text messages, audio messages, video messages, and files such as

documents and photos with other WhatsApp users. It also permits users to engage in real-time

voice and video calls and to set up and participate in group chats. The computer-based WhatsApp

service offers similar functionality to the smartphone-based application, including the ability to

send and receive text messages, video messages, and files such as photos.

       15.     Each WhatsApp account has a unique account identifier in the form of the telephone

number of the mobile phone upon which the user has installed the WhatsApp Messenger

application. These phone numbers are used by WhatsApp users to identify the intended recipient

of the messages that they send as well as the sender of messages that they receive. These telephone

numbers, which also function as WhatsApp account identifiers, can be recorded by pen-trap

devices and can be used to identify parties to a communication without revealing the

communication’s content.      WhatsApp messages are routed through servers controlled by

WhatsApp, Inc. Unlike an e-mail message, which is stored on a network server maintained by the




                                                5
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 7 of621
                                                                        of 10




provider, WhatsApp messages are routed to a server managed by WhatsApp, Inc., which does not

store the communication. Instead, WhatsApp, Inc. merely routes the message to the receiving

mobile device as soon as the receiving device’s receiver is online. Activities by WhatsApp users

on WhatsApp Messenger constitute “electronic communications” within the meaning of 18 U.S.C.

§ 8123. See 18 U.S.C. §§ 3127(1) and 2510(12).

                                        THE RELEVANT FACTS

          16.       The United States government, including the Agency, is investigating the

gathering, transmitting, unauthorized removal and retention of classified information, and theft of

government property by a U.S. government employee. The investigation concerns possible

violations of, inter alia, 18 U.S.C. § 793. The FBI investigation of a U.S. government employee

is based on information that that employee was approached by an intelligence officer of a foreign

nation.    Law enforcement therefore believes that the users of the SUBJECT ACCOUNTS

identified in Attachment A are utilizing the SUBJECT ACCOUNTS to discuss and conduct

criminal activities, and to further the above-listed offense.

          17.       As described above, the conduct being investigated involves use of the SUBJECT

ACCOUNTS. To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNTS.

          18.       The pen-trap devices sought by this application will record, decode, and/or

capture dialing, routing, addressing, and signaling information associated with each access to,

and with each communication to or from, the SUBJECT ACCOUNTS, including the date, time,

and duration of the communication, and the following, without geographic limit:

                   Network addresses, including IP addresses and port numbers, associated with
                    access to, and communications to or from, the SUBJECT ACCOUNTS;



                                                     6
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 8 of721
                                                                        of 10




                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNTS;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNTS;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNTS;

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of WhatsApp messages and/or calls, but not
                 content; and

                The number, type, and size of any attachments sent or received by the SUBJECT
                 ACCOUNTS.

                                    GOVERNMENT REQUESTS

       19.       For the reasons stated above, the United States requests that the Court enter an

Order authorizing the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and

each communication to or from, the SUBJECT ACCOUNTS, to include the date, time, and

duration of the communication, without geographic limit. The United States does not request and

does not seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       20.       The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       21.       The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order WhatsApp Inc. (hereinafter “Service Provider”) and any other

person or entity providing wire or electronic communication service in the United States whose

assistance may facilitate execution of the Order, furnish the Agency forthwith all information,

facilities, and technical assistance necessary to install the pen-trap devices, including installation



                                                   7
   Case 1:20-pr-00048-GRJ
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        49-1 Filed     03/09/20
                                                   07/26/22     Page
                                                             Page 9 of821
                                                                        of 10




and operation of the pen-trap devices unobtrusively and with minimum disruption of normal

service. Any entity providing such assistance shall be reasonably compensated by the Agency,

pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities and

assistance in furtherance of the Order.

       22.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNTS, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNTS.

       23.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       24.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that




                                                  8
   Case 1:20-pr-00048-GRJ
     Case                 *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1 Filed
                                       49-1 Filed     03/09/20
                                                  07/26/22  PagePage
                                                                 10 of921
                                                                        of 10




information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       25.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.

       26.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       27.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       28.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.




                                                 9
Case 1:20-pr-00048-GRJ
   Case                 *SEALED*
         1:22-pr-09999-UNA       Document
                            Document       1 Filed
                                     49-1 Filed     03/09/20
                                                07/26/22     Page
                                                          Page     1021
                                                               11 of  of 10




   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on the 9th day of March 2020.

                                          Respectfully submitted,

                                          TIMOTHY J. SHEA
                                          United States Attorney
                                          DC Bar No. 437437


                                      By: /s/ Luke M. Jones
                                         Luke M. Jones (VA BAR 75053)
                                         Assistant United States Attorney
                                         VA Bar No. 75053
                                         National Security Section
                                         555 4th Street, N.W.
                                         Washington, D.C. 20530
                                         Office: (202) 252-7066
                                         Luke.jones@usdoj.gov




                                            10
      Case
   Case    1:22-pr-09999-UNA
        1:20-pr-00048-GRJ     Document
                          *SEALED*     49-1 Filed
                                   Document  1-1 07/26/22   Page 12
                                                  Filed 03/09/20    of 21
                                                                 Page  1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-48
ORDER FOR TWO WHATSAPP ACCOUNTS
FOR INVESTIGATION OF VIOLATION OF
18 U.S.C. § 793                                            Filed Under Seal



                                             ORDER

       Luke M. Jones, on behalf of the United States, has submitted an application pursuant to 18

U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order authorizing the installation and

use of pen registers and trap and trace devices ("pen-trap devices") on the WhatsApp Inc. accounts

identified as +               and +                 (hereinafter "SUBJECT ACCOUNTS"), which

are believed to be used by person(s) identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Department of Justice, Federal Bureau

of Investigation (hereinafter "Agency") of the person(s) indicated in Attachment A, which is

incorporated into this Order by reference, and others as yet unknown or not fully identified, in

connection with possible violations of, inter alia, 18 U.S.C. § 793. The Court further finds that a

sufficient showing of good cause has been made for the continued sealing of Attachment A and

for the government's withholding of Attachment A from service upon the Service Provider, in

order to help ensure the privacy of the person(s) identified therein and the integrity of the

government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,
   Case 1:20-pr-00048-GRJ
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 07/26/22
                                       49-1 Filed Filed 03/09/20 Page
                                                            Page 13    2 of 5
                                                                    of 21




addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNTS, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNTS;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNTS;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNTS;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNTS;

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of WhatsApp messages, but not content; and

              The number, type, and size of any attachments sent or received by the SUBJECT
               ACCOUNTS.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

WhatsApp Inc. (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;




                                                 -2-
   Case 1:20-pr-00048-GRJ
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 07/26/22
                                       49-1 Filed Filed 03/09/20 Page
                                                            Page 14    3 of 5
                                                                    of 21




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNTS, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNTS;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                 -3-
   Case 1:20-pr-00048-GRJ
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 07/26/22
                                       49-1 Filed Filed 03/09/20 Page
                                                            Page 15    4 of 5
                                                                    of 21




        IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

        IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



Date:                                                 ____________________________
                                                      Robin M. Meriweather
                                                      United States Magistrate Judge




                                                -4-
      Case
   Case    1:22-pr-09999-UNA
        1:20-pr-00048-GRJ     Document
                          *SEALED*     49-1 Filed
                                   Document  1-1 07/26/22   Page 16
                                                  Filed 03/09/20    of 21
                                                                 Page  5 of 5




                                        ATTACHMENT A


Person(s) identified as subject(s) of investigation:
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00048-GRJ     Document
                            *SEALED*    49-1 Filed
                                     Document      07/26/22
                                               2 Filed       PagePage
                                                        03/10/20  17 of121
                                                                         of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-48
ORDER FOR TWO WHATSAPP ACCOUNTS
FOR INVESTIGATION OF VIOLATION OF
18 U.S.C. § 793                                            Filed Under Seal



                                             ORDER

       Luke M. Jones, on behalf of the United States, has submitted an application pursuant to 18

U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order authorizing the installation and

use of pen registers and trap and trace devices ("pen-trap devices") on the WhatsApp Inc. accounts

identified as +               and +                 (hereinafter "SUBJECT ACCOUNTS"), which

are believed to be used by person(s) identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Department of Justice, Federal Bureau

of Investigation (hereinafter "Agency") of the person(s) indicated in Attachment A, which is

incorporated into this Order by reference, and others as yet unknown or not fully identified, in

connection with possible violations of, inter alia, 18 U.S.C. § 793. The Court further finds that a

sufficient showing of good cause has been made for the continued sealing of Attachment A and

for the government's withholding of Attachment A from service upon the Service Provider, in

order to help ensure the privacy of the person(s) identified therein and the integrity of the

government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,
    Case 1:20-pr-00048-GRJ
      Case                  *SEALED*
            1:22-pr-09999-UNA        Document
                               Document        2 Filed
                                        49-1 Filed      03/10/20
                                                   07/26/22  PagePage
                                                                  18 of221
                                                                         of 5




addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNTS, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNTS;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNTS;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNTS;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNTS;

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of WhatsApp messages, but not content; and

              The number, type, and size of any attachments sent or received by the SUBJECT
               ACCOUNTS.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

WhatsApp Inc. (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;




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    Case 1:20-pr-00048-GRJ
      Case                  *SEALED*
            1:22-pr-09999-UNA        Document
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                                        49-1 Filed      03/10/20
                                                   07/26/22  PagePage
                                                                  19 of321
                                                                         of 5




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNTS, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNTS;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                 -3-
    Case 1:20-pr-00048-GRJ
      Case                  *SEALED*
            1:22-pr-09999-UNA        Document
                               Document        2 Filed
                                        49-1 Filed      03/10/20
                                                   07/26/22  PagePage
                                                                  20 of421
                                                                         of 5




        IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

        IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).


                                                                           2020.03.10 10:40:10 -04'00'
Date:                                                 ____________________________
                                                      GARY R. JONES
                                                      United States Magistrate Judge




                                                -4-
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    Case    1:22-pr-09999-UNA
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                            *SEALED*    49-1 Filed
                                     Document      07/26/22
                                               2 Filed       PagePage
                                                        03/10/20  21 of521
                                                                         of 5




                                        ATTACHMENT A


Person(s) identified as subject(s) of investigation:
